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Roxane Laboratories, Inc (James F. McIntyre)                        February 26, 2009
                                      Chicago, IL

                                                                                1
                      UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

        ------------------------------X

        In Re:   PHARMACEUTICAL                )

        INDUSTRY AVERAGE WHOLESALE             )   MDL No. 1456

        PRICE LITIGATION                       ) Civil Action No.

        ------------------------------X 01-12257-PBS

        THIS DOCUMENT RELATES TO:              )

        United States of America ex            )

        rel. Ven-a-Care of the                 )

        Florida Keys, Inc., et al.             )

        v. Boehringer Ingelheim                )

        Corp., et al., Civil Action            )

        No. 07-10248-PBS                       )

        ------------------------------X

                 The videotaped 30(b)(6) deposition of

        Roxane Laboratories, Inc., Roxane Laboratories, Inc.

        n/k/a Boehringer Ingelheim Roxane, Inc., Boehringer

        Ingelheim Pharmaceuticals, Inc., and Boehringer

        Ingelheim Corporation by JAMES F. McINTYRE

                            Chicago, Illinois

                       Thursday, February 26, 2009




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Roxane Laboratories, Inc (James F. McIntyre)                                                   February 26, 2009
                                                Chicago, IL
                                                                         6 (Pages 18 to 21)
                                                      18                                                         20
 1          MS. RIVERA: Object to form.                     1      Q. Who?
 2   BY THE WITNESS:                                        2      A. Met with bar -- my counsel on three
 3       A. Yes, but there may be times I want to           3   different occasions.
 4   clarify which company we're talking about.             4      Q. By your counsel, do you mean Ms. Rivera?
 5   BY MR. FAUCI:                                          5      A. Yes.
 6       Q. I'm -- I think it's important to be as          6      Q. Was anyone else present at any of those
 7   specific as possible on that, so I'll try -- when I    7   meetings?
 8   refer to the worldwide family or the group of          8      A. Co-counsel.
 9   companies to -- we'll call them Boehringer             9      Q. Can you be more specific on "co-counsel"?
10   Ingelheim. But if you need clarification, ask.        10      A. Meghan Dolan from Kirkland & Ellis,
11          At any time have you been employed by any      11   Sheila Denton.
12   Boehringer Ingelheim entities other than Roxane       12      Q. How long were those meetings?
13   Labs or Boehringer Ingelheim Roxane?                  13      A. They lasted roughly eight hours, I guess,
14       A. No.                                            14   a day.
15       Q. What is your position?                         15      Q. Each one?
16       A. I'm the functional controller for              16      A. Yes.
17   operations.                                           17      Q. Are you familiar with a company called
18       Q. What does the functional controller for        18   Boehringer Ingelheim Pharmaceuticals, Incorporated?
19   operations do?                                        19      A. Yes.
20       A. In addition to -- just basically handling      20      Q. If I refer to that company as BIPI today,
21   all the accounting activities for the manufacturing   21   will you understand that I mean Boehringer
22   entity, we do all the financial analyses for the      22   Ingelheim Pharmaceuticals --

                                                      19                                                         21
 1   manufacturing entity, closing of the books on a        1       A. Yes.
 2   monthly basis, variance analysis, anything -- any      2       Q. -- Incorporated?
 3   financial analysis that's rated -- related to the      3          Describe in general the business of BIPI
 4   manufacturing function.                                4   from 1996 to the present.
 5      Q. How long have you been in that position?         5       A. BIPI is the -- the branded side of the
 6      A. Since June of 1996.                              6   Boehringer Ingelheim family, so they're -- they
 7      Q. So is the position you occupy the same as        7   sell branded products, patent protected products.
 8   when you were employed by Roxane Laboratories prior    8       Q. Have you ever had any responsibilities
 9   to 2005?                                               9   for any portions of BIPI's business?
10      A. Yes.                                            10       A. Yes.
11      Q. Where did you work prior to coming to           11       Q. Can you describe that?
12   Roxane?                                               12       A. The -- when I was hired, I was brought on
13      A. Prior to '96, I worked for a company            13   as the manufacturing controller, responsible for
14   called Borden, Inc. for three years; and prior to     14   manufacturing. BIPI, in addition to Roxane, both
15   that, I worked for Kraft.                             15   had manufacturing activities. In 1996, BIPI was in
16      Q. Is Borden, Inc. a pharmaceutical company?       16   the process of closing their manufacturing facility
17      A. No. It's a dairy company.                       17   and moving the production to either a facility in
18      Q. Are you an accountant?                          18   Mexico or to the Roxane facility in Columbus.
19      A. Yes.                                            19   During that time that the manufacturing facility in
20      Q. Did you meet with anyone in preparation         20   -- in Ridgefield was being closed down, I provided
21   for today's deposition?                               21   the financial analysis related to the manufacturing
22      A. Yes.                                            22   operations there.


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                                                                         7 (Pages 22 to 25)
                                                      22                                                        24
 1      Q. When was it closed down?                         1   the defendants on the designated topics; that is,
 2      A. I think all but one activity was closed          2   12, 13, 15, 16 and 17, as those topics have been
 3   down by 1999.                                          3   narrowed by agreements between the parties?
 4      Q. The manufacturing facility in Ridgefield,        4       A. Yes.
 5   did it make drugs primarily for BIPI?                  5       Q. You could put that aside.
 6      A. Yes.                                             6          Do you recall that in or around 2003,
 7      Q. Did it make any drugs for Roxane?                7   2004 time frame, Boehringer Ingelheim reviewed the
 8      A. No.                                              8   structure of its businesses in the United States?
 9      Q. Are you familiar with a company called           9       A. Yes.
10   Boehringer Ingelheim Corporation?                     10       Q. Did this review include BIPI?
11      A. Yes.                                            11          MS. RIVERA: Object to form.
12      Q. If I refer to that company as BIC today,        12   BY THE WITNESS:
13   will you understand that I mean Boehringer            13       A. There were BIPI employees that were part
14   Ingelheim Corporation?                                14   of the project team, yes.
15      A. Yes.                                            15   BY MR. FAUCI:
16      Q. Can you describe in general the business        16       Q. Let me ask the question a different way.
17   of BIC from 1996 to the present?                      17   Was the structure of BIPI's businesses part of the
18      A. BIC was the U.S. holding company or             18   review?
19   parent company --                                     19       A. No.
20      Q. Did --                                          20       Q. Was Roxane part of the review?
21      A. -- of the U.S. subsidiaries.                    21       A. Yes.
22      Q. Sorry. Did it have any business of its          22       Q. Why did they under -- defendants
                                                      23                                                        25
 1   own, any active businesses?                            1   undertake such a review?
 2      A. No, to my knowledge.                             2       A. The -- the Roxane business as it was
 3      Q. Did you ever have any responsibilities on        3   structured then was really a combination of two
 4   behalf of BIC?                                         4   businesses, a manufacturing business and a -- and a
 5      A. No.                                              5   sales and marketing business. The review was to
 6      Q. Do you understand that you've been               6   try to separate those businesses to improve line of
 7   designated by BIC, BIPI and Roxane to testify as a     7   sight for management and to -- to be able to gauge
 8   corporate representative on certain topics             8   and measure the performance of the manufacturing
 9   identified in the United States' notice of             9   business separate from the sales and marketing
10   deposition?                                           10   business. Judge the manufacturing business based
11      A. Yes.                                            11   on manufacturing metrics and be able to judge the
12      Q. I'm going to show you what the court            12   sales and marketing business based on selling --
13   reporter will mark as Exhibit 1, which is a copy of   13   sales metrics.
14   a notice of deposition.                               14       Q. I'd like to introduce -- have you look at
15             (WHEREUPON, a certain document was          15   what the court reporter's marked as Exhibit 2.
16   marked Exhibit McIntyre 001, for identification.)     16             (WHEREUPON, a certain document was
17   BY MR. FAUCI:                                         17   marked Exhibit McIntyre 002, for identification.)
18      Q. Take a moment to familiarize yourself           18   BY MR. FAUCI:
19   with it. My first question will be: Have you seen     19       Q. This appears to be an April 19, 2004,
20   this document?                                        20   series of slides. The first slide has Hermann
21      A. Yes.                                            21   Tetzner's name on it.
22      Q. Are you prepared to testify on behalf of        22       A. Yes.


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                                                                         9 (Pages 30 to 33)
                                                     30                                                         32
 1   the difference between a -- a reporting that is in     1      Q. When did Marti Carroll become the CEO of
 2   terms of legal entities as opposed to reporting in     2   BIC?
 3   terms of businesses?                                   3      A. End of 2002 or early 2003, I'm not sure.
 4       A. Well, Roxane Laboratories is a legal            4      Q. Do you know who's -- who his predecessor
 5   entity. But the sales is sales and marketing, and      5   was?
 6   -- and the operations piece is a manufacturing. We     6      A. Werner Gerstenberg.
 7   report separately in terms of -- of the -- the         7      Q. And so prior to, when Mr. Gerstenberg was
 8   performance results for those two segments of that     8   CEO of BIC, would Tom Russillo have reported to him
 9   particular company, so we really had two businesses    9   then?
10   within that one legal entity. And that's what the     10      A. Yes, I would suspect so.
11   organization was trying to -- reorganization was      11      Q. The second paragraph reads, "This system
12   trying to fix.                                        12   often does not convey clearly the performance of
13       Q. Why was this regarded as something that        13   our businesses and leads to complexity in
14   needed to be fixed?                                   14   interpreting how each business is faring. The
15       A. The -- the manufacturing business, who         15   accounting reconciliations between the legal
16   was -- the COO was Rob Fromuth, reported directly     16   entities and the businesses reduce but do not
17   to the CEO of the U.S.                                17   remove this complexity." Do you see that?
18       Q. Mr. Fromuth was a Roxane employee?             18      A. Yes.
19       A. Yes.                                           19      Q. What is an accounting reconciliation?
20       Q. And who did he report to?                      20      A. To identify -- basically identifying the
21       A. Marti Carroll, CEO of the U.S. of BIC.         21   costs that are related to the marketing side of the
22       Q. CEO -- CEO of BIC?                             22   business versus the manufacturing side of the

                                                     31                                                         33
 1       A. Yes. And he was responsible for                 1   business.
 2   operations, our manufacturing.                         2       Q. What do you mean, "identifying"?
 3       Q. I believe the question I had asked              3       A. I'm sorry?
 4   earlier was: Why was this situation regarded as a      4       Q. Can you clarify what you mean by
 5   problem that needed to be fixed?                       5   "identifying the" --
 6       A. Well, the sales and marketing side of the       6       A. If we --
 7   business, who was the vice president or general        7       Q. -- "costs"?
 8   manager of the -- the -- the multi-source or the       8       A. -- want to separate, we can identify
 9   generic business for Roxane Laboratories, reported     9   which costs go with the sales -- sales side of the
10   to someone different.                                 10   business versus which costs go with the
11       Q. Who was that person? Who -- who was the        11   manufacturing side of the business. By having
12   person in charge of the marketing and sales of        12   those two legal entities together, that was a diff
13   Roxane Laboratories?                                  13   -- that was a challenge.
14       A. Paul Kersten.                                  14       Q. When would an accounting reconciliation
15       Q. When was Mr. Kersten in charge of that?        15   have been performed?
16       A. Oh, at least since 2001. I don't know if       16       A. Every month.
17   it goes back any further than that.                   17       Q. Do you know if Roxane and BIPI had their
18       Q. And who did he report to?                      18   own internal accounting systems?
19       A. He reports to -- at that time, 2001, Tom       19       A. Roxane and BIPI -- beginning --
20   Russillo.                                             20          MS. RIVERA: Object to form. Sorry.
21       Q. Do you know who Mr. Russillo reported to?      21          MR. FAUCI: It's all right.
22       A. Marti Carroll.                                 22   BY THE WITNESS:


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                                                                      10 (Pages 34 to 37)
                                                      34                                                        36
 1       A. Beginning in December of 2000, we were on       1      Q. And how did that represent a change to
 2   the same system, but we were separate legal            2   Boehringer Ingelheim's businesses in the U.S.?
 3   entities. So within that system, we had our own        3      A. Well, BVL was another generic company
 4   accounting --                                          4   that had a very distinct product line. Their
 5   BY MR. FAUCI:                                          5   technology was different than any other
 6       Q. Separate --                                     6   technologies within the Boehringer family of
 7       A. -- records.                                     7   companies.
 8       Q. Separate accounting staffs?                     8      Q. I don't know if I've asked this, but
 9       A. In part, yes. Before 2001, yes, there           9   "BVL" stands for Ben Venue Labs?
10   was completely separate accounting staffs.            10      A. Yes.
11       Q. And after 2001?                                11      Q. Was Ben Venue Labs part of this legal
12       A. After 2001, some of the accounting was         12   entity discussion?
13   centralized with BIPI as a central service and that   13      A. No.
14   charge -- and they were charged back -- Roxane was    14      Q. The next bullet point down says, the
15   charged back for that service.                        15   "rationalization of the RLI business," open
16       Q. What do you mean, "Roxane was charged          16   parentheses, "allocation to BIPI and" Ben Venue --
17   back for that service"?                               17   "and BVL," close parentheses. Do you see that?
18       A. The costs -- the costs associated with         18      A. Yes.
19   performing that accounting service for Roxane was     19      Q. How was RLI's business allocated to BIPI?
20   charged back to the Roxane legal entity.              20          MS. RIVERA: Object to form.
21       Q. I'll have some more questions about that       21   BY THE WITNESS:
22   later. I think we'll stick with this document now.    22      A. I'm not sure what that means, 'cause it
                                                      35                                                        37
 1           Moving down on this slide, it says, "The       1   wasn't allocated to BIPI.
 2   purpose of the proposed restructuring is,              2   BY MR. FAUCI:
 3   therefore, to align the U.S. organization with the     3      Q. Sitting here today, do you have a sense
 4   actual businesses." Do you see that?                   4   of what that bullet point means?
 5        A. Yes.                                           5      A. No, I don't.
 6        Q. What steps were taken to align the U.S.        6      Q. Skipping down two bullet points, it says,
 7   organization with the actual businesses?               7   "introduction of the shared services concept."
 8        A. Well, that's what the reorganization was       8      A. Yes.
 9   all about, was to separate the Roxane legal entity     9      Q. What is the shared service and con --
10   into the two business units that were a part of       10   services concept?
11   that, the manufacturing business unit and the sales   11      A. That some -- or certain services are
12   business unit.                                        12   centralized under the BIPI umbrella, but they
13        Q. If I can direct your attention to the         13   perform services and charge those services back to
14   next page, the slide on the top. Do you see where     14   the subsidiaries, similar to what I just mentioned
15   it lists various changes to the U.S. business over    15   about the accounting activities.
16   time?                                                 16      Q. So this is separate from the Boehringer
17        A. Yes.                                          17   Ingelheim Services Center?
18        Q. What is "the acquisition of BVL"?             18      A. No, I think it's making reference to the
19        A. BVL was a company that was acquired by        19   Boehringer Ingelheim Services Center.
20   Boehringer Ingelheim in 1997.                         20      Q. I'm just trying to be clear. Are you
21        Q. Is that Ben Venue Labs?                       21   familiar with an entity known as the Boehringer
22        A. Yes, it is.                                   22   Ingelheim Services Center?


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                                                                      11 (Pages 38 to 41)
                                                     38                                                        40
 1      A. Yes.                                             1      A. As far as I know, tax since I've been
 2      Q. Can we call that BISC?                           2   with the company in '96, so.
 3      A. Yes.                                             3      Q. Legal?
 4      Q. Is BISC a separate entity than BIPI?             4      A. Since the beginning of my tenure.
 5      A. At that time, yes.                               5      Q. HR?
 6      Q. Were there shared services that were             6      A. Again, since the beginning of my tenure.
 7   located in BIPI?                                       7      Q. And IT?
 8          MS. RIVERA: Object to form.                     8      A. Yes.
 9   BY THE WITNESS:                                        9      Q. Beginning of your --
10      A. Shared services that were located in            10      A. Beginning --
11   BIPI? Yes.                                            11      Q. -- tenure?
12   BY MR. FAUCI:                                         12      A. -- of tenure.
13      Q. And were there shared services that were        13      Q. And so I guess my question, the time
14   housed in the BISC?                                   14   frame is from 1996 to the present. Those various
15      A. Yes.                                            15   functions, accounting, tax, legal, HR, IT, were
16      Q. Which shared services were in BIPI?             16   those departments composed of BIPI employees?
17      A. The accounting that I previously                17      A. Yes, the best of my knowledge.
18   mentioned, the -- I believe at that time tax was      18      Q. And those departments had
19   part of BIPI, legal services, I believe, were part    19   responsibilities on behalf of Roxane?
20   of BIPI. Those are a couple that come to mind.        20      A. They were centralized services that were
21      Q. And so --                                       21   performed by Roxane -- or for Roxane and charged
22      A. HR and IT services.                             22   back to Roxane.
                                                     39                                                        41
 1       Q. So those departments would be housed in         1      Q. What type of services would be located in
 2   Connecticut?                                           2   the BISC?
 3       A. Yes.                                            3      A. The heavy transactional type services;
 4       Q. And they'd be composed of BIPI employees?       4   accounts payable, payroll, customer service,
 5           MS. RIVERA: I object to form, and I            5   accounts receivable.
 6   don't know if we can specify a time frame, 'cause -    6      Q. Can you try and distinguish for me the
 7   - just figure out what time frame we're talking        7   types of work that would be done -- the
 8   about.                                                 8   transactional services that would be done in the
 9   BY MR. FAUCI:                                          9   BISC from the accounting work that was done by BIPI
10       Q. When did the shared services concept come      10   staff?
11   into being?                                           11      A. Well, the BISC related activities were
12       A. Specifically relating to the BISC?             12   primarily more clerical level activities, heavy
13       Q. No, specifically related to those              13   transactions, processing invoices and that kind of
14   services that were located at BIPI.                   14   thing,, whereas the -- the accounting service were
15       A. Well, it depends on the function.              15   higher level, general accounting type functions
16       Q. Why don't we go function by function           16   with professionals mainly.
17   then.                                                 17      Q. If I can direct your attention to the
18       A. Okay.                                          18   next page of the same Exhibit 2. It shows a
19       Q. Do you know when a shared services             19   organizational chart of the Boehringer Ingelheim
20   function for accounting came into being at BIPI?      20   Corporation and its 100 percent owned subsidiaries,
21       A. 2001.                                          21   and it's its current structure as of April 19,
22       Q. Tax?                                           22   2004, do you see that?


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                                                                      12 (Pages 42 to 45)
                                                      42                                                         44
 1       A. Yes.                                            1   foundation and beyond the scope of the subpoena.
 2       Q. And do you see that various entities are        2          If you know the answer, you can answer.
 3   listed as 100 percent owned subsidiaries of BIC,       3   BY MR. FAUCI:
 4   including BIPI and Roxane?                             4       Q. You may answer.
 5       A. Yes.                                            5       A. There's one attorney that's part of
 6       Q. And do you see that under BIPI, there's a       6   Roxane now --
 7   note that says, quote, "'Hidden,'" end quote,          7       Q. Who is that?
 8   "corporate functions such as HR, legal, IT, F&A"?      8       A. -- part of BIRI actually, is part of
 9       A. Yes.                                            9   BIRI.
10       Q. Does that reflect the discussion we had a      10       Q. Who is that?
11   few moments ago, that some of these shared services   11       A. Andrea Kochensparger.
12   for the various Boehringer Ingelheim entities were    12       Q. When did she -- when was she hired?
13   located in BIPI?                                      13       A. Around 2005, I think.
14       A. I don't know specifically what's meant by      14       Q. You can keep that one handy 'cause we're
15   the term "hidden."                                    15   probably going to go back to that, but let me show
16       Q. Does this note comport with your               16   you what the court reporter will mark as Exhibit 3.
17   recollection, though, that these functions were       17              (WHEREUPON, a certain document was
18   located within BIPI but were provided for the         18   marked Exhibit McIntyre 003, for identification.)
19   broader corporate family?                             19   BY MR. FAUCI:
20          MS. RIVERA: Object to form.                    20       Q. It's a lengthy document, so take a moment
21   BY THE WITNESS:                                       21   to familiarize yourself, and look up when you're
22       A. Yes.                                           22   ready.
                                                      43                                                         45
 1   BY MR. FAUCI:                                          1          If it helps, most, if not all, of my
 2       Q. What is "F&A"?                                  2   questions will be about the sixth page of the
 3       A. I believe it's fina -- finance and              3   document, which is a chart lists, "Current Support
 4   accounting --                                          4   Structures By Functional Area."
 5       Q. Finance and accounting.                         5       A. Okay.
 6       A. -- but I don't know that for sure.              6          MR. FAUCI: For the record, this document
 7       Q. How many people, to the best of your            7   is a lengthy document. It's entitled, "Legal
 8   knowledge, were located in the finance and             8   Entity Discussion - Executive Summary," it's dated
 9   accounting group at BIPI?                              9   November 17, 2003, and the name underneath it is
10       A. I really don't know.                           10   James P. Mellody.
11       Q. Do you have a sense of how many were in        11   BY MR. FAUCI:
12   the legal group?                                      12       Q. Do you know who Mr. Mellody is?
13       A. No.                                            13       A. Yes.
14       Q. And did Roxane have its own legal              14       Q. Who is he?
15   department?                                           15       A. He's vice president of sale -- purchasing
16       A. Can you reference a time frame?                16   and the project leader on this particular project.
17       Q. At any time from 1996 to the present, do       17       Q. He's VP of purchasing for which entity?
18   you know if Roxane had its -- did Roxane -- let me    18       A. BIPI.
19   strike that.                                          19       Q. Did he have any responsibilities on
20          At any time from 1996 to the present, did      20   behalf of Roxane?
21   Roxane have its own legal department?                 21       A. No.
22          MS. RIVERA: I object to form and               22       Q. And do you know if he worked for BIC?


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                                                                      13 (Pages 46 to 49)
                                                      46                                                         48
 1       A. I don't know.                                   1   13, I believe. But I object as beyond the scope
 2       Q. Do you know why he was project leader for       2   for any, you know, detailed questions about the
 3   this project?                                          3   shared services beyond that connection. So
 4       A. No, I don't know specifically why he was        4   anything Mr. McIntyre testifies to in that regard
 5   project leader for this particular project. I am -     5   would be in his personal capacity.
 6   - I'm aware that Mr. Mellody has good project          6   BY MR. FAUCI:
 7   management skills, and that may have been why he       7      Q. Mr. McIntyre, the 2005 reorg, the process
 8   was chosen to lead this particular project.            8   that led to that, was that called the "Legal Entity
 9       Q. Both BIPI and Roxane are owned by BIC, is       9   Project"?
10   that correct?                                         10      A. I don't know specifically that that was
11       A. That's correct.                                11   the title, but --
12       Q. Do you have any reason why a BIPI              12      Q. You turn to the first page of this
13   employee would be in charge of a project discussing   13   document, do you see that this is "Legal Entity
14   the reorganization of its sister corporation,         14   Discussion"?
15   Roxane?                                               15      A. Yes.
16       A. Well, Mr. Mellody was the project leader.      16      Q. It is your understanding that this series
17   The -- the project team that was reviewing and        17   of slides relates to the -- a discussion of whether
18   doing all the analysis of the various options and     18   or not and how to divide the Roxane business?
19   scenarios was made up of employees from all the       19      A. Yes.
20   legal entities.                                       20      Q. I think my question, then, was: Is it
21       Q. Looking at page six, it's entitled,            21   your understanding that -- or did Roxane and BIPI
22   "Current Support Structure by Functional Area." Do    22   share a common contracting function?
                                                      47                                                         49
 1   you see that?                                          1          MS. RIVERA: And again I just want to
 2      A. Yes.                                             2   make sure it's clear for the record that detailed
 3      Q. Do you see where it says, "Contracting,"         3   questions about the shared services outside the
 4   the second bullet down?                                4   context of how they relate to the legal entity
 5      A. Yes.                                             5   reorganization in 2005, I object to is beyond the
 6      Q. "Services/Support Currently Provided," in        6   scope of the subpoena.
 7   that column, it says, "Contracting," open              7          But go ahead and answer, Jim.
 8   parentheses, "including VA, slash, PHS and             8   BY THE WITNESS:
 9   Medicaid," close parentheses, "pricing and             9       A. Okay. Well, I think it's -- this, to my
10   reporting services for BIPI and RLI." And do you      10   knowledge, the -- that it was shared, but it was
11   see that?                                             11   charged back to the individual companies, just like
12      A. Yes.                                            12   all these other shared services that are listed on
13      Q. Did BIPI and RLI share a common                 13   this particular page that we've already discussed.
14   contracting function?                                 14   BY MR. FAUCI:
15          MS. RIVERA: Hold on. I just want to put        15       Q. Thank you. So turning your attention
16   a objection on the record. I object that the          16   back to Exhibit 2 -- actually, just more generally,
17   questions -- detailed questions about the shared      17   you've said earlier that these various services
18   services aspects are beyond the scope of the          18   were charged back to Roxane?
19   subpoena topics that Mr. McIntyre has been            19       A. Yes.
20   designated to testify about.                          20       Q. What does that mean?
21          As they relate to the 2005 corporate           21       A. It means the cost of performing that
22   reorg, then I can see that that's related to topic    22   service was -- was charged to Roxane and reflected


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                                                      50                                                        52
 1   in their cost.                                         1   that were estimated to be used within each legal
 2       Q. Was that done annually, quarterly?              2   entity, the -- the legal entities would -- would be
 3       A. That was done monthly.                          3   charged back an hourly -- based on an hourly rate.
 4       Q. Was Roxane billed?                              4   But they'd -- they would have first -- first right
 5       A. I don't --                                      5   of -- right of refusal on the budget.
 6          MS. RIVERA: Object to form.                     6       Q. When was the budget compiled?
 7   BY THE WITNESS:                                        7       A. At the beginning of the budget process.
 8       A. I don't know that there was a specific          8       Q. Was it a yearly budget?
 9   invoice created, but we were all in the same           9       A. Yes.
10   system, so it was able to -- it was all done within   10       Q. Would the budgets contain projections for
11   the system.                                           11   how much -- what percentage of the legal services
12   BY MR. FAUCI:                                         12   would go to Roxanne, what percent would go to BIPI?
13       Q. On an accounting basis?                        13       A. Yes.
14       A. Yes.                                           14       Q. What were those projections based on?
15       Q. How were the amounts to be charged back        15       A. Based on historical average hours. And
16   determined?                                           16   then what would happen is on a -- on an ongoing
17       A. It depends on the service. There are           17   basis throughout the year, they would be trued up
18   various drivers determined for each service.          18   based on if -- if one legal entity was using more
19       Q. What's -- I'm sorry, go ahead.                 19   of a service than another, they would true that up
20       A. At the beginning of the year, the service      20   so that the -- the appropriate legal entity was
21   provider functions, which is basically this list,     21   charged by the end of the year.
22   where the -- would -- would develop their annual      22       Q. Did personnel in the legal department log

                                                      51                                                        53
 1   operating budgets, and then based on whatever the      1   how much of their time was spent performing tasks
 2   serve -- whatever the drivers are for a certain        2   on behalf of each entity?
 3   activity, there would be a rate established, and       3      A. I don't --
 4   then each of the legal entities would be charged       4          MS. RIVERA: Object --
 5   back based on that rate and a -- and the amount of     5   BY THE WITNESS:
 6   usage of the service they -- they had.                 6      A. -- know.
 7       Q. Let's try and narrow it down. Let's             7          MS. RIVERA: -- to form and foundation.
 8   stick with legal.                                      8   BY THE WITNESS:
 9       A. Okay.                                           9      A. I don't know for sure if they did that.
10       Q. Who determined the -- well, if you could       10   BY MR. FAUCI:
11   walk me through the process, maybe just focusing on   11      Q. So how was it trued up? What was the --
12   legal, about how Roxane was charged for those         12   what was the mechanism for deciding whether or not
13   services.                                             13   this projection was accurate for a given month or
14       A. The legal department would -- would            14   quarter?
15   develop their annual operating budget, they would     15          MS. RIVERA: Object to form and
16   present it to all the receivers of the legal          16   foundation and again entire line of questioning
17   services, the -- those -- the -- the receivers of     17   beyond the scope of the subpoena.
18   that service, so basically the legal entities,        18          But if you know, Jim.
19   would -- would have approve -- would be able --       19   BY THE WITNESS:
20   would -- would approve that particular budget or      20      A. I -- I don't know specifically.
21   challenge that budget.                                21          MR. ANDERSON: This is Jarrott Anderson.
22          And then based on the number of hours          22   And I want to note for the record that it's the


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                                                    70                                                          72
 1   background noise coming from the speakerphone, not    1      A. Yes.
 2   stenographically recorded.)                           2      Q. And do you remember that we discussed the
 3          MR. FAUCI: I believe we're on Exhibit          3   Ipratropium Bromide was the generic equivalent of
 4   No. 5.                                                4   Atrovent?
 5             (WHEREUPON, a certain document was          5      A. Yes.
 6   marked Exhibit McIntyre 005, for identification.)     6      Q. And that Atrovent was a BIPI product?
 7   BY MR. FAUCI:                                         7      A. Correct.
 8      Q. It's an October 9, 2003, e-mail from            8      Q. Are you aware that in 1996 Roxane
 9   Ursula Bartels to Jim Mellody, subject is:            9   launched Ipratropium Bromide several months in
10   "Surfacing issues in the multisource                 10   advance of the expiration of patent exclusivity for
11   restructuring." Are you familiar with this           11   Atrovent?
12   document?                                            12      A. Yes.
13      A. No.                                            13      Q. Do you know whether Roxane obtained from
14      Q. Do you know who Ms. Bartels is?                14   BIPI a license to preemptively launch Ipratropium
15      A. At that time, she was head legal counsel       15   Bromide?
16   for Boehringer Ingelheim.                            16      A. I'm aware that they paid a royalty.
17      Q. I'm looking at the third paragraph down,       17      Q. What do you mean, "they paid a royalty"?
18   the second line, Ms. Bartels writes, "Presently,     18      A. It paid an 11 percent royalty to BIPI in
19   our patent department is responsible for Roxane      19   order to -- to sell Ipratropium Bromide.
20   patent work." Do you see that?                       20      Q. How was that determined, 11 percent?
21      A. Yes.                                           21      A. Earlier -- early agreements between BIPI
22      Q. What patent work did Roxane require?           22   and -- and -- and BII at -- that negotiated royalty
                                                    71                                                          73
 1      A. I don't know.                                   1   percentage, and that had been validated by outside
 2          MS. RIVERA: I'm sorry, what was your           2   third-party consultants, that it was arm's length.
 3   question?                                             3       Q. I'm sorry, what is "BII"?
 4          MR. FAUCI: What patent work did Roxane         4       A. Boehringer Ingelheim International.
 5   require?                                              5       Q. What is that?
 6   BY MR. FAUCI:                                         6       A. It's the parent, German parent.
 7      Q. Did Roxane pay BIPI for work done by            7       Q. And so there was royalty agreements
 8   BIPI's patent department?                             8   between BII and BIPI?
 9      A. If the patent department did work, then         9       A. Yes.
10   Roxan -- it would've been charged back to Roxane.    10       Q. And those were at 11 percent?
11   I don't know that they did any patent work. I'm      11       A. Ten or 11 percent. Ten percent, I think.
12   not familiar with what they would have done.         12       Q. Who would be paying royalty -- would BIPI
13      Q. And that charge back would have been           13   be paying royalties to BII, or vice versa?
14   similar --                                           14       A. Depends on which product, but BIPI -- and
15      A. Similar to all the others we've                15   in the case of Ipratropium Bromide, BIPI was paying
16   discussed.                                           16   BII.
17              (WHEREUPON, there was a short             17       Q. Do you mean in the case of Atrovent?
18   interruption.)                                       18       A. Yes. Atrovent, yeah.
19   BY MR. FAUCI:                                        19       Q. And so BII held the patent for Atrovent?
20      Q. A little while ago I asked you a few           20       A. Yes.
21   questions about Ipratropium Bromide, do you          21       Q. And BIPI paid BII 11 percent royalty?
22   remember that?                                       22       A. Ten or 11. I'm not --


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                                                    74                                                        76
 1       Q. I'm -- I'm talking about the relationship     1   document?
 2   between Roxane and BIPI.                             2       A. No.
 3       A. Uh-huh.                                       3       Q. Do you see the --
 4       Q. We've established that Ipratropium            4          MR. FAUCI: For the record, this document
 5   Bromide is the generic equivalent of Atrovent.       5   says, "For Internal Use Only. Why stay with Roxane
 6   Roxane paid BIPI the same 11 or -- ten or 11         6   Ipratropium Bromide?"
 7   percent royalty that BIPI in turn paid to BIII --    7   BY MR. FAUCI:
 8       A. Yes.                                          8       Q. The bottom paragraph on the first page,
 9       Q. -- BII?                                       9   can you read the first sentence, starting with
10       A. Yes.                                         10   "Roxane launched."
11       Q. Was there anything done to establish that    11       A. "Roxane launched Ipratropium Bromide
12   ten or 11 percent was an appropriate royalty rate   12   eight months in advance of generic availability."
13   for a generic manufacturer to pay the holder of a   13       Q. And then can you read the sentence
14   branded patent?                                     14   starting with, "This strategy cost."
15       A. Third-party consultants were brought in      15       A. "This strategy cost the innovator company
16   to -- to validate that that was an arm's length     16   a lot of money."
17   rate.                                               17       Q. Do you know who Shelly Berkle is?
18       Q. Who?                                         18       A. Yes.
19       A. At that time, KPMG.                          19       Q. Who's Mr. Berkle?
20       Q. Is that the same auditing firm that          20       A. At the time -- he's no longer with the
21   established that 11 percent was an appropriate      21   company, but at the time, he was head of marketing.
22   royalty rate as between BIPI and BIII?              22       Q. For --

                                                    75                                                        77
 1       A. I don't know that, that they were             1       A. For --
 2   involved in.                                         2       Q. -- who?
 3       Q. And so this ten or 11 percent was paid by     3       A. For BIPI.
 4   Roxane for the life of Ipratropium Bromide?          4       Q. I'm going to read you a very brief
 5           MS. RIVERA: Object to form.                  5   section from Mr. Berkle's October 31, 2008,
 6   BY THE WITNESS:                                      6   deposition in Florida, page 148. Mr. Berkle says
 7       A. Until the product was discontinued, yes.      7   in reference to the decision to allow Roxane to
 8   BY MR. FAUCI:                                        8   launch Ipratropium Bromide preemptively, that this
 9       Q. Okay. What -- my questions earlier --         9   cost BIPI money. I'll read you what he says.
10   let's introduce an exhibit.                         10          "Answer: Again, in the context that
11           MR. FAUCI: Which exhibit are we on?         11   Roxane preemptively launched Ipratropium prior to
12              (WHEREUPON, a certain document was       12   any other generic competitors had a cost from a
13   marked Exhibit McIntyre 006, for identification.)   13   BIPI perspective. It allowed sales for the Roxane
14           MS. DENTON: What exhibit are we on?         14   product at a lesser price than the branded price at
15           MR. FAUCI: Six.                             15   a time when Atrovent still was patent protected."
16           MS. RIVERA: Six.                            16          MS. RIVERA: I'm --
17           MS. DENTON: I thought this was six.         17   BY MR. FAUCI:
18           MS. RIVERA: That was five.                  18       Q. Do you see that?
19           MR. FAUCI: That was five.                   19          MS. RIVERA: Jeff, can you tell me where
20           MS. DENTON: Okay.                           20   you are?
21   BY MR. FAUCI:                                       21          MR. FAUCI: Oh, sure. I'm on page 148.
22       Q. Have you -- are you familiar with this       22   Did I give you the right --


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                                                     78                                                          80
 1          MS. RIVERA: Yeah, I was just several            1   She was -- I don't know exact -- I don't recall her
 2   pages in.                                              2   exact position at this time.
 3          MR. FAUCI: I'm on the top paragraph.            3       Q. It's a e-mail. The subject of the e-mail
 4          MS. RIVERA: Okay.                               4   is: "Atrovent UDV," and then it says, "AM11,"
 5          MR. FAUCI: I'll read it again.                  5   slash, "US." Ms. Maloney writes, "BIPI is the
 6   BY MR. FAUCI:                                          6   holder for the Atrovent NDA. Roxane distributes
 7       Q. Mr. Berkle says: "Again, in the context         7   the generic product Ipratropium Bromide legally out
 8   that Roxane preemptively launched Ipratropium prior    8   of the NDA. Also, Novation distributes Ipratropium
 9   to any other generic competitors had a cost from a     9   Bromide out of the NDA. All three products are
10   BIPI perspective. It allowed sales for the Roxane     10   manufactured by Roxane." Do you see that?
11   product at a lesser price than the branded price at   11       A. Yes.
12   a time when Atrovent still was patent protected."     12       Q. Does this refresh your recollection as to
13          My question to you is: Did Roxane pay          13   whether at least by 1999 Roxane had filed an ANDA
14   any money to BIPI for the right to market             14   for Ipratropium Bromide UDV?
15   Ipratropium Bromide at a time when BIPI still had a   15       A. It doesn't say that they filed an ANDA.
16   patent protection for Atrovent?                       16       Q. And it actually says that Roxane
17       A. They paid the 11 percent royalty.              17   distributes the generic product out of the NDA,
18       Q. The same 11 percent royalty they paid          18   which was held by BIPI; correct?
19   after Atrovent was no longer patent protected?        19       A. Correct.
20       A. Yes.                                           20       Q. It also says that all three products are
21          MR. FAUCI: What are we on, Exhibit 7?          21   manufactured by Roxane. Do you see that?
22   I'm going to introduce Exhibit 7.                     22       A. Yes.
                                                     79                                                          81
 1             (WHEREUPON, a certain document was           1      Q. Roxane manufactured Atrovent?
 2   marked Exhibit McIntyre 007, for identification.)      2      A. Yes.
 3   BY MR. FAUCI:                                          3      Q. When did that start? Focusing on the
 4      Q. This is a series of e-mails in the August        4   Atrovent UDV.
 5   to October 1999 time frame. I'm going to direct        5      A. UDV, 1993, I believe.
 6   your attention to the third page of the document,      6      Q. Did Roxane sell Atrovent to BIPI?
 7   an e-mail -- feel free to read it all to get           7          MS. RIVERA: Object to form.
 8   familiarized at any time. I'm focusing on the          8   BY THE WITNESS:
 9   August 9, 1999, e-mail from Ann Maloney, sent at       9      A. Yes, they would've sold the -- the
10   1:18 p.m. Do you see that?                            10   Atrovent UDV would've been sold to -- to -- to BIPI
11      A. Yes.                                            11   by RLI.
12         MS. RIVERA: Yeah, Jim, you should make          12   BY MR. FAUCI:
13   sure you look at the whole document just to make      13      Q. And then BIPI would turn around and
14   sure you're familiar with it.                         14   market and sell the products to customers under a
15         Ready?                                          15   BIPI label?
16         THE WITNESS: Yes.                               16      A. That's correct.
17   BY MR. FAUCI:                                         17      Q. Were there written contracts evidencing
18      Q. Ms. Maloney writes -- well, do you know         18   sales of Atrovent from Roxane to BIPI?
19   who Ms. Maloney is?                                   19      A. Yes, I believe there was a 1993 contract
20      A. Yes.                                            20   manufacturing agreement.
21      Q. Who is she?                                     21      Q. And that contract would have governed for
22      A. Well, she's no longer with the company.         22   the life of Atrovent UDV?


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                                                    82                                                         84
 1      A. My recollection is, it's a ten-year            1          THE VIDEOGRAPHER: We are back on the
 2   contract, renewable.                                 2   record at 10:50 a.m. with the start of tape number
 3      Q. How was the price -- the sale price from       3   two.
 4   Roxane to BIPI determined?                           4   BY MR. FAUCI:
 5      A. Cost plus.                                     5      Q. We were just talking about the process by
 6      Q. What does that mean?                           6   which Roxane sold Atrovent to BIPI. Do you
 7      A. Manufacturing cost plus some -- some           7   remember that?
 8   markup.                                              8      A. Yes.
 9      Q. What does "manufacturing cost" mean?           9      Q. And you said that it sold it at cost
10      A. Manufacturing cost is the cost of all the     10   plus, do you recall that?
11   ingredients plus labor and overhead.                11      A. Yes.
12      Q. Where did Roxane get the ingredients?         12      Q. And we were trying to educate me and the
13      A. The -- the active ingredient would have       13   jury on what cost plus meant. And you said that
14   come from BII. The Ipratropium Bromide is the       14   cost includes the ingredient costs, the labor costs
15   active ingredient.                                  15   and the overhead costs, do you recall that?
16      Q. And they would have purchased that from       16      A. Yes.
17   the German parent?                                  17      Q. What's the plus?
18      A. Yes.                                          18      A. The margin.
19      Q. And they --                                   19      Q. Do you recall what the margin was?
20      A. Well, I can't be sure. It could've come       20      A. No. In the 1993 contract, we were unable
21   from BIPI, 'cause BIPI purchased Ipratropium from   21   to determine exactly what the margin would have
22   other products, but -- but it's a BII product.      22   been and how that pricing was determined for that -
                                                    83                                                         85
 1       Q. So they would buy the -- the active        1      - and during that time frame.
 2   ingredient -- Roxane would buy the active         2         Q. So what was the result?
 3   ingredient from another Boehringer Ingelheim      3         A. I'm not sure I understand the question.
 4   entity?                                           4         Q. Oh, when you say you were unable to
 5       A. Yes.                                       5      determine what the margin was, what do you mean?
 6       Q. And then Roxane would manufacture it?      6      In preparation for today?
 7       A. Yes.                                       7         A. Yes.
 8       Q. And you said that the cost included what   8         Q. But there was a margin in the 1993
 9   else besides the ingredient costs?                9      contract that --
10       A. Labor and overhead.                       10         A. I'd have to --
11       Q. What's included in overhead?              11         Q. -- presumably?
12       A. General plan overhead, depreciation of    12         A. -- believe that there was, yes.
13   the equipment, depreciation of building, travel  13         Q. Do you know what the margin was at any
14   expenses. There's a whole list of items that are 14      point in time from 1996 to the present?
15   part of overhead.                                15         A. Yes.
16          MR. FAUCI: I think we need to take a      16         Q. What was it, and when did it become that?
17   break.                                           17         A. We're talking specifically about
18          THE VIDEOGRAPHER: We are off the record 18        Ipratropium Bromide UDVs?
19   at 10:39 a.m. with the end of tape number one.   19         Q. Atrovent UDV.
20             (WHEREUPON, a recess was had.)         20         A. Atrovent -- Atrovent UDVs. Well,
21             (WHEREUPON, MS. DOLAN left the         21      Atrovent UDVs were discontinued in 2003, so --
22   deposition proceedings.)                         22         Q. Okay.


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                                                     86                                                        88
 1       A. -- but be -- up until 2003, the margin         1      Q. And I understand that the -- why the 2.2
 2   was based -- was 2.2 percent, based on full cost.     2   was used in place of the ten percent, but how was
 3       Q. What does that mean, "based on full            3   the 2.2 number arrived at?
 4   cost"?                                                4      A. Because it gave the same -- as I
 5       A. Well, it includes the cost of the active       5   mentioned, it gave the same level of profit as
 6   ingredient.                                           6   using ten percent on a cost excluded the API.
 7       Q. In addition to the labor and the               7      Q. Was it negotiated?
 8   overhead?                                             8      A. Yes, and later -- later validated by
 9       A. Labor and the overhead, that's --              9   outside consultants.
10       Q. How was --                                    10      Q. And would this 2.2 percent or ten percent
11       A. -- correct.                                   11   markup have been true on all the products that
12       Q. -- the 2.2 percent figure arrived at?         12   Roxane manufactured for Boehringer Ingelheim
13       A. 2.2 percent on total cost is -- gives --      13   entities?
14   gives the same absolute margin or absolute profit    14      A. Yes.
15   as ten percent on cost minus API.                    15      Q. Let me show you a document marked Exhibit
16       Q. What is "API"?                                16   8.
17       A. Active pharmaceutical ingredient; that's      17             (WHEREUPON, a certain document was
18   the Ipratropium Bromide. The way we do things        18   marked Exhibit McIntyre 008, for identification.)
19   today is we charge ten percent on only third-party   19   BY THE WITNESS:
20   acquired materials.                                  20      A. 1998 Expectation and Budget.
21       Q. Materials acquired from outside --            21   BY MR. FAUCI:
22       A. Outside, nonaffiliate companies. If it        22      Q. It's a September 30, 1998, document, that
                                                     87                                                        89
 1   has affiliate material in there, we subtract that     1   says, "Commentary, 1998 Expectation, 1999 Budget,
 2   from the total cost, because that affiliate           2   Roxane Laboratories, Incorporated." Take a moment
 3   material already has some markup, so we don't --      3   to familiarize yourself with it, but I will be
 4   it's not fair to mark it up twice.                    4   asking you questions about specific parts.
 5        Q. Okay. So focusing on the Atrovent UDV,        5       A. Okay. Okay.
 6   that there would be some markup applied to the        6       Q. Are you familiar with this document?
 7   ingredient that Roxane would have purchased from      7       A. I've never seen this particular one, but
 8   either BIPI or BII?                                   8   I'm somewhat familiar with it, yes.
 9        A. Based -- yes, based on the way we do it       9       Q. What is an expectation?
10   now or did it in -- from -- up until 2003.           10       A. Expectation is an update of the current
11        Q. And so based on the way it was done up       11   year. So when you start out the year, you have
12   until 2003?                                          12   your budget; later in the year, we do an update of
13        A. Yes.                                         13   what that budget is and what the expectation -- I
14        Q. And because of that, the margin from         14   mean, what we're gonna come in at at the end of --
15   Roxane to BIPI was only 2.2 percent, is that         15   the end of the year. So it's our projection for
16   correct?                                             16   what our actual costs or what our actual will be by
17        A. At that time, yes. We don't know what it     17   December 31st.
18   was back in '93.                                     18       Q. So it's --
19        Q. When did it become 2.2 percent?              19       A. So it has no actual numbers, per se, in
20        A. About that time, 2001, 2002.                 20   there.
21        Q. And it stayed that way until 2003?           21       Q. It's the revised budget based on the
22        A. Yeah, we discontinued the product.           22   year-to-date?


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                                                                 32 (Pages 122 to 125)
                                                    122                                                        124
 1   wholesaler could go -- end up -- the sale could end    1       Q. Who would have compiled the profit and
 2   up at any number of different possible end             2   loss statement and the balance sheet?
 3   customers, whereas a sale to a chain customer, it's    3       A. At this time frame, 1997, the --
 4   only going to end up at that particular customer?      4       Q. Year-end 1996.
 5          MS. RIVERA: Object to form and                  5       A. The finance department for Roxane
 6   foundation.                                            6   Laboratories.
 7          Go ahead.                                       7       Q. Can you name people that would have been
 8   BY THE WITNESS:                                        8   involved?
 9       A. I don't know for certain, but I --              9       A. Yeah. None of those people are with the
10   BY MR. FAUCI:                                         10   company any longer, but, yes, I can name them.
11       Q. And just so the record is clear, your          11       Q. Who?
12   testimony is that the benefit to BIPI here is that    12       A. John Swartz would have been the
13   it was moving short dated inventory?                  13   controller for that side of the business that was -
14       A. Correct.                                       14   - it would have been his department that created or
15          MR. FAUCI: Can you mark this as Exhibit        15   --
16   15.                                                   16       Q. If you turn to the statement of income,
17            (WHEREUPON, a certain document was           17   it's a few pages in, it says, "Roxane Laboratories,
18   marked Exhibit McIntyre 015, for identification.)     18   Inc.'s Statement of Income."
19   BY MR. FAUCI:                                         19       A. I have it.
20       Q. Showing you what the court reporter has        20       Q. It shows the net sales at $233,776,000
21   marked as Exhibit 15. It's a Roxane Laboratories,     21   for the budget, do you see that?
22   Inc. Unanimous Written Consent of Directors. The      22       A. Yes.
                                                    123                                                        125
 1   first paragraph starting with "Resolved" states,       1      Q. And then the actual for 1996 was
 2   "Resolved that, the year-end closing for 1996 be,      2   $253,565,000?
 3   and it hereby is, approved and the Balance Sheet       3      A. Yes.
 4   and Profit and Loss Statement of this Corporation      4      Q. A little further down is an entry,
 5   as of December 31, 1996, be, and they hereby are,      5   "operating income." Can you explain what
 6   ratified and adopted in the form attached." Do you     6   "operating income" is?
 7   see that?                                              7      A. Operating income is basically net sales
 8       A. Yes.                                            8   minus all of your operating expenses.
 9       Q. What is the balance sheet?                      9      Q. And then all the way down is the net
10       A. A balance sheet is where you list your         10   income after tax, can you explain what that is?
11   assets and liabilities.                               11      A. It's your income after tax.
12       Q. And a profit and loss statement?               12      Q. It's the total income that Roxane
13       A. That's your income statement. It defines       13   received for the year after --
14   your sales and net income.                            14      A. After they pay taxes, yes.
15       Q. Would Roxane's Board of Directors approve      15      Q. They pay taxes, and after they paid
16   each of these for Roxane each year?                   16   everything else?
17       A. I don't know, but --                           17      A. Yes.
18       Q. Does it appear that Roxane's Board of          18         MS. RIVERA: Object to form.
19   Directors is approving the balance sheet and profit   19   BY MR. FAUCI:
20   and loss statement for Roxane as of the fiscal year   20      Q. And for 1996, Roxane had net income of
21   1996?                                                 21   $39 million, approximately?
22       A. I see that's what it says here, yes.           22      A. Yes.


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                                                                33 (Pages 126 to 129)
                                                   126                                                        128
 1       Q. Can you turn to the statement of               1   show you Exhibit 16. This is a similar document,
 2   financial position. What are retained earnings?       2   except it's from the year-end 1997.
 3       A. Retained earnings is the cumulative            3              (WHEREUPON, a certain document was
 4   effect -- or the accumulation of net income from      4   marked Exhibit McIntyre 016, for identification.)
 5   various years.                                        5   BY MR. FAUCI:
 6       Q. And so for the year-end 1996, Roxane's         6       Q. If you'd turn to the statement of income,
 7   retained earnings were $131 million?                  7   it's a few pages in, does this reflect that
 8       A. Yes.                                           8   Roxane's income from 1997 was $40 million,
 9       Q. This would have included the $39 million       9   approximately?
10   in income from 1996?                                 10       A. Net income after tax?
11       A. Should have, yes.                             11       Q. Yes.
12       Q. Do you see slightly above that, it says,      12       A. Yes.
13   "Loans from affiliates"?                             13       Q. And if you turn the page to the statement
14       A. Yes.                                          14   of financial position --
15       Q. What is a loan from affiliate?                15       A. Uh-huh.
16       A. And specifically, I don't know what this      16       Q. -- the retained earnings have increased
17   is. But typically it just represents funds that      17   to $171 million, is that correct?
18   would have been loaned from either BIC for meet --   18       A. Yes.
19   to meet a particular purpose.                        19       Q. And if you look above, it's -- the loans
20       Q. So they would have been loans from one        20   to affiliates are now $27 million, is that correct?
21   Boehringer Ingelheim entity --                       21           MS. RIVERA: Wait, what page are you on?
22       A. Affiliate.                                    22   I'm sorry.
                                                   127                                                        129
 1       Q. -- to Roxane?                                  1          MR. FAUCI: Oh, I'm sorry. I'm on the
 2       A. That's correct.                                2   statement of financial position. It's
 3       Q. And here, they're $31 million; correct?        3   BOEH04600262.
 4       A. Correct.                                       4          MS. RIVERA: Okay. And you're on which
 5       Q. Would these loans be supported by a note?      5   line?
 6       A. I don't know.                                  6          MR. FAUCI: I'm looking at "Loans from
 7       Q. Do you know if there'd be any written          7   affiliates."
 8   documentation underlying these loans?                 8          MS. RIVERA: Okay.
 9       A. I don't know.                                  9   BY MR. FAUCI:
10       Q. Who would set the terms of the loan?          10       Q. Do you see that that's $27 million?
11       A. I don't know back into 1996.                  11       A. Yes.
12       Q. Who would set them now?                       12       Q. Would that reflect that some portion of
13       A. The terms are established by the LIBOR        13   the loans had been paid off in 1997?
14   rate, that's the London interbank offer bank --      14       A. Yes.
15   exchange, and that's established at the beginning    15       Q. Would that -- would Roxane's repayment of
16   of each month with BI Corporate.                     16   that loan be reflected as a debit somewhere on an
17       Q. So that's the interest?                       17   income statement?
18       A. Yes, that's the interest rate plus -- the     18          MS. RIVERA: Object to form.
19   affiliate companies would pay the LIBOR rate plus    19   BY THE WITNESS:
20   25 basis points or an extra quarter percent above    20       A. No.
21   that.                                                21   BY MR. FAUCI:
22       Q. You could put that aside. I'm going to        22       Q. What would that loan have been paid out


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                                                                 40 (Pages 154 to 157)
                                                    154                                                       156
 1      A. Opina Project was the project -- the             1   BIRI and BIPI to manufacture and distribute drugs.
 2   overriding project where the -- the manufacturing      2         MS. RIVERA: Wait for a question.
 3   facility in Connecticut was to be shut down and the    3   BY MS. POLLACK:
 4   production moved to either our Mexico or our           4      Q. Prior to 2005, isn't it correct that
 5   Columbus facility --                                   5   Roxane marketing personnel marketed drugs that were
 6      Q. After --                                         6   owned by BIPI?
 7      A. -- for --                                        7         MS. RIVERA: Object to form.
 8      Q. -- that production line was shut down,           8   BY THE WITNESS:
 9   was there any use made of it at all?                   9      A. Not to my knowledge.
10      A. Of the manufacturing facility?                  10   BY MS. POLLACK:
11      Q. In Connecticut, yes.                            11      Q. Are you familiar with a drug called
12      A. Yes, they mostly turned it to office            12   Viramune?
13   space.                                                13      A. Yes.
14      Q. Were you aware that certain expenses            14      Q. Is that a product that's sold by BIPI?
15   related to that project were booked on the -- in      15      A. Yes.
16   the accounts of Roxane?                               16      Q. Is that a product for which BIPI has the
17      A. I was not aware that any Opina Project          17   NDA?
18   expenses were booked to Roxane.                       18      A. Yes.
19      Q. Were -- were any allocations made out of        19      Q. Okay. Was that product for a period of
20   the Opina Project to companies other than BIPI?       20   time marketed by Roxane?
21      A. Not to my knowledge.                            21      A. Yes.
22      Q. At the time of the project, were any            22      Q. And was there a distribution agreement by

                                                    155                                                       157
 1   drugs that were owned by BIPI -- and I'm talking       1   which that product, which was owned by BIPI but
 2   about ownership of the drugs, I'm not talking about    2   marketed by Roxane?
 3   sales of a particular vial or something -- were        3      A. There was a license agreement.
 4   they transferred to Roxane?                            4      Q. To Roxane?
 5          MS. RIVERA: At the time of what project,        5      A. Yes. Roxane paid BIPI a 11 percent
 6   Ros?                                                   6   royalty.
 7          MS. POLLACK: Opina Project.                     7          MS. RIVERA: And I'm just gonna object
 8   BY THE WITNESS:                                        8   for the record that questions relating to the sale
 9      A. Was -- let me understand your question.          9   and transfer of Viramune are beyond the scope of
10   Was ownership transferred?                            10   the notice as we discussed with the DOJ during
11   BY MS. POLLACK:                                       11   various meet and confers. So that to the extent
12      Q. Of any --                                       12   Mr. McIntyre has knowledge of this, it would be
13      A. Was that --                                     13   based on his personal knowledge.
14      Q. -- drugs.                                       14          MS. POLLACK: The objection is noted.
15      A. -- your que -- I'm sorry.                       15   BY MS. POLLACK:
16      Q. Of any drugs that had belonged to BIPI.         16      Q. Are you familiar with a drug called
17      A. Not that I'm aware of.                          17   Oramorph?
18      Q. Did Roxane have any contracts with BIPI         18      A. Yes.
19   to distribute BIPI drugs?                             19      Q. Was that a drug that was marketed by
20      A. During what time frame?                         20   Roxane at least prior to 2001?
21      Q. From 1996 to 2005.                              21      A. Yes.
22      A. In 2005, there was an agreement between         22      Q. Who owned the trademark for that drug?


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                                                                 41 (Pages 158 to 161)
                                                    158                                                        160
 1      A. My understanding is Roxane did.                  1   term -- the length -- by "term," you mean length of
 2      Q. Was the trademark for that drug ever             2   term, I assume.
 3   owned by BIPI?                                         3   BY MS. POLLACK:
 4      A. Not to my knowledge.                             4      Q. Right. Length of time.
 5      Q. If I ask you the same question for               5      A. I -- I don't recall.
 6   Roxicodone --                                          6      Q. Do you recall if Roxane paid any fee to
 7      A. Yes.                                             7   terminate that license agreement in 2001?
 8      Q. -- was that a drug that was marketed by          8      A. No, but they -- they would just have
 9   Roxane prior to 2001?                                  9   discontinued paying the royalty.
10      A. Yes.                                            10      Q. Well, Mr. Fauci marked a number of year-
11      Q. Did Roxane own the trademark for that           11   end statements and balance sheets earlier today.
12   drug?                                                 12   Are you familiar with the fact that on occasion
13      A. Best of my knowledge, yes.                      13   Roxane made short-term advances to affiliates?
14      Q. Let me ask you a question about the             14      A. Yes.
15   distribution agreement for Viramune. Do you know      15      Q. Okay. When would those kinds of advances
16   when, if at all, that distribution agreement ended?   16   be made?
17          MS. RIVERA: Do you mean the licensing          17      A. Well, just similar to the short-term
18   agreement, Ros?                                       18   loans, all of that, either advances or loans,
19          MS. POLLACK: Sorry, the licensing              19   they're all part of the cash pooling process that
20   agreement.                                            20   takes place with all the activity that goes on
21   BY THE WITNESS:                                       21   between the companies.
22      A. The licensing agreement ended in 2001.          22      Q. When there was a short-term advance to an
                                                    159                                                        161
 1   BY MS. POLLACK:                                        1   affiliate made by Roxane, would there be any
 2       Q. And why was that?                               2   documentation relating to that advance?
 3       A. 2001 was the year that Roxane divested          3       A. It would be in -- in the internal
 4   itself of the pain medication products, which          4   accounting records.
 5   included the Roxicodone and the Oramorph we just       5       Q. Would there be a note signed?
 6   discussed. As a result of that divestment, the         6       A. I don't know if there'd be a note signed.
 7   sales force that marketed those products was -- was    7       Q. Would -- would there be any kind of
 8   eliminated; and as a result, BIPI took the product     8   letter agreement or contract re -- relating to that
 9   back. And at the same time, BIPI had a -- another      9   advance?
10   aged related drug in development. And with that       10       A. I don't know.
11   product coming online soon, they wanted -- they had   11       Q. Would there be interest associated with
12   the combination of those two A drugs that they        12   the short-term advance?
13   would be marketing.                                   13       A. Yes, there should be, based on that LIBOR
14       Q. What was the term of the license               14   rate we discussed earlier, on the affiliate loan.
15   agreement that Roxane had for Viramune; in other      15       Q. When you say, "there should be," were
16   words, was it yearly, monthly?                        16   there, in fact, interest terms associated with the
17       A. Viramune license agreement.                    17   short-term --
18          MS. RIVERA: Object to form, beyond the         18       A. Yes --
19   scope of the notice.                                  19       Q. -- investment --
20          If you know.                                   20       A. -- there were interest terms.
21   BY THE WITNESS:                                       21       Q. And would the interest be paid by a
22       A. Yeah, I don't -- I don't recall what the       22   bookkeeping line item?


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                                                                 42 (Pages 162 to 165)
                                                    162                                                       164
 1      A. If -- well, what do you mean by                  1   money in the pool was swept out daily and sent to
 2   "bookkeeping line item" --                             2   Germany, you wouldn't have any reason to disagree
 3      Q. Yeah --                                          3   with that?
 4      A. -- please?                                       4       A. I wouldn't, no.
 5      Q. -- let me -- let me rephrase that.               5       Q. Can you take a look at Exhibit 8, that
 6          How would the interest payments be made?        6   Mr. Fauci asked you about earlier.
 7      A. It would be made as part of the -- the           7       A. Yes.
 8   accounting records.                                    8       Q. And on page 23, it states that the "MDI
 9      Q. Would actual cash transfer from one              9   and SM standard based upon bulk material being
10   entity to another?                                    10   transferred to RLI at zero cost. This assumption
11      A. Again, that's all part of the -- all of         11   is no longer valid."
12   these loans and things are all part of the cash       12       A. Yes.
13   pooling and the -- and the -- and the netting of      13       Q. Yes, you read that. Does that indicate
14   the -- the affiliate transactions that take place.    14   to you that prior to a change being reflected in
15      Q. Could you describe what you mean by "the        15   the budget, the cost of goods sold were being
16   cash pooling."                                        16   reflected at a zero cost --
17      A. The -- Boehringer uses what's called a          17          MS. RIVERA: Object to form.
18   zero balance cash, so every -- every legal entity     18   BY MS. POLLACK:
19   has their own bank account, so to speak. But at       19       Q. -- for the MDI and the SM products?
20   the end of the day, the -- the bank where all these   20       A. And I think I testified earlier that I
21   accounts are just kind of sweeps all that cash into   21   was unaware what the -- what the accounting change
22   one pool. And then they still record the quant --     22   meant, so I couldn't speak to this.
                                                    163                                                       165
 1   the amount of cash by legal entities, but that --      1       Q. It doesn't say to you that whatever the
 2   they pool it all together so that they can invest      2   accounting change meant, it was a change from zero
 3   that money to earn interest.                           3   to something else?
 4        Q. Is that --                                     4          MS. RIVERA: Object to form.
 5        A. It's much -- much --                           5   BY THE WITNESS:
 6        Q. -- money invested on behalf of BIC?            6       A. I -- I see that's what it says, but I
 7        A. It's invested on behalf of all the legal       7   can't speak to it.
 8   entities.                                              8   BY MS. POLLACK:
 9        Q. Is the money swept out of that pool daily      9       Q. Now, this statement also indicates that
10   and -- and sent out of the country?                   10   there's something called the self medication
11        A. It's swept out of the pool daily. I           11   product.
12   don't know that it's swept -- or sent out of the      12          MS. RIVERA: Where are you, Ros?
13   country, no.                                          13          MS. POLLACK: Right on that same page on
14        Q. If Mr. --                                     14   the --
15        A. It remains --                                 15          MS. RIVERA: Oh, okay.
16        Q. -- Tetzner --                                 16          MS. POLLACK: -- standard cost of goods
17        A. -- in -- it remains in BIC's -- it            17   sold, self medication product.
18   remains in BIC's account or in fund with all the --   18          MS. RIVERA: I got it.
19   with all the individual legal entities. It's kept     19          MS. POLLACK: You see that?
20   track of by the legal entity account numbers, but     20          MS. RIVERA: Yep.
21   it's all in one pool.                                 21          Sorry, Jim.
22        Q. But if Mr. Tetzner had testified that the     22   BY MS. POLLACK:


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                                                   170                                                        172
 1   16, you'll see that, TXEX?                            1       Q. Is there any lease agreement between BIRI
 2       A. Yes.                                           2   and BIPI with regard to that plant?
 3       Q. And -- and the anomalies in current            3       A. No lease agreement, per se, but the space
 4   structure progress -- or box, I should say, the       4   that we occupy we pay for through an allocation of
 5   third bullet point, "The Ridgefield plant is owned    5   -- basically would be an occupancy charge for the
 6   by BIPI;" is that correct?                            6   space that we occupy.
 7       A. Prior to 2005, that's correct.                 7       Q. So the plant still belongs to BIPI?
 8       Q. And what, if anything, was being               8       A. Yes, the facility belongs to BIPI.
 9   manufactured at the Ridgefield plant?                 9       Q. Was there a reason that the facility was
10       A. At this time, there was only one              10   not transferred -- let me rephrase that.
11   particular product that had never transferred as     11          Was the reason that the ownership of that
12   part of that Opina Project we discussed, so there    12   Ridgefield plant was not transferred to BIRI along
13   was one manufacturing line still there.              13   with the equipment and the employees?
14       Q. What product was that?                        14       A. They needed the space for office. The
15       A. Combivent MDI inhalers.                       15   rest of the plant was converted to office space.
16       Q. Was that being manufactured by BIPI or        16       Q. And whose office space is that?
17   Roxane?                                              17       A. BIPI.
18       A. Well, prior to 2005, it was BIPI. As          18       Q. I want to ask one more question about the
19   part of the reorg, it became Roxane -- or BIRI,      19   Viramune sale. You testified that Roxane paid a
20   excuse me, BIRI.                                     20   royalty to BIPI on sales that were made, is that
21       Q. When you say it became part of BIRI,          21   correct?
22   could you explain what you meant -- mean?            22       A. Up through 2001.
                                                   171                                                        173
 1       A. Well, that the assets associated with          1      Q. Through 2001. How was the income from --
 2   that manufacturing were now part of the BIRI legal    2   from the sales booked?
 3   entity. The employees that produced the product       3          MS. RIVERA: I just want to put a
 4   were -- became BIRI legal entity employees.           4   continuing objection on the record to the -- beyond
 5       Q. How was the Ridgefield plant transferred       5   the scope of the Viramune discussion.
 6   to BIRI, if that's what happened?                     6   BY MS. POLLACK:
 7          MS. RIVERA: Object to form.                    7      Q. How was -- was that booked by Roxane?
 8   BY THE WITNESS:                                       8      A. The income from the sale -- from Viramune
 9       A. Well, the Ridgefield plant in and of           9   sales to third parties was booked by --
10   itself was not. It was just the equipment to         10      Q. Yes.
11   produce this particular product.                     11      A. -- Roxane, yes.
12   BY MS. POLLACK:                                      12      Q. Okay. I'd like to talk a little bit more
13       Q. What transferred to BIRI?                     13   about Exhibit 2. If you'll turn to the next page,
14       A. I'm sorry?                                    14   page 17 at the bottom. And this is describing --
15       Q. I'm trying to understand your testimony.      15   and this is for the new legal entities that were
16   The equipment to produce the product was             16   proposed to be created, is that correct?
17   transferred to B-I-R-I?                              17      A. Which -- which side are you looking at?
18       A. Yes, as well as the employees that            18      Q. At the top of the page marked at the --
19   produced the product.                                19      A. The advan -- the one that says
20       Q. Did the equipment and the employees           20   "Advantages"?
21   remain in the Ridgefield plant?                      21      Q. Yeah.
22       A. Yes.                                          22      A. Yes, this is talking that the advantages


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                                                    174                                                        176
 1   of one of the options, the preferred option.           1   people.
 2       Q. And the third bullet says, "Moves               2      Q. The next bullet point, there's a line,
 3   employees under the legal entity to which they         3   the oper -- the organization with the actual
 4   report;" is that correct?                              4   businesses, what's meant by that?
 5       A. That's correct.                                 5      A. Again, given that the overriding driver
 6       Q. So there were people who were employed by       6   for the separation or for the reorganization was to
 7   one company but reporting to another, is that what     7   separate the two legal entities or to separate the
 8   that means?                                            8   two businesses that were part of the Roxane legal
 9       A. Yes, specifically the manufacturing             9   entity, we wanted to get the organization aligned
10   situation we just discussed.                          10   so that the manufacturing people were all part of
11       Q. Are you talking about the Combivent?           11   the manufacturing organization and the sales and
12       A. Yes.                                           12   marketing people were part of the sales
13       Q. Well, weren't these people prior to 19 --      13   organization, so that those two businesses could be
14   I'm sorry, prior to 2005, who were manufacturing      14   judged and -- their performance could be judged
15   Combivent, BIPI employees?                            15   independently.
16       A. That's correct.                                16      Q. And what does the last bullet point say
17       Q. And that prior to 2005, Combivent was a        17   under "the advantages of the new legal entity"?
18   BIPI drug; right?                                     18      A. At the -- way down at the bottom, the
19       A. That's correct. It still is.                   19   "allows for separation of liability"?
20       Q. So why would you have to move them under       20      Q. Yes. Could you read that into the
21   the legal entity which -- to which they report when   21   record, please.
22   they were already under the legal entity to which     22      A. "Allows for separation of liability for
                                                    175                                                        177
 1   they reported?                                         1   Marketing and Sales of Multisource and
 2      A. Because -- because the -- the Roxane             2   manufacturing of Multisource products." The intent
 3   manufacturing people were responsible for that         3   of that bullet is to -- is to -- we're really just
 4   manufacturing line. And those manufacturing people     4   trying to align liability with the business, so if
 5   in BIPI were reporting to people in Roxane, or BIRI    5   manufacturing had a -- if there was a manufacturing
 6   after the 2005 split. And that's why this comment      6   liability, the manufacturing legal entity was --
 7   says move people -- move people -- employees under     7   was accountable for that. So we're just trying to
 8   the legal entity to which they report. That was        8   align liability with the business.
 9   one of the anomalies of the -- of our organization,    9       Q. Whereas, prior to that time, any of those
10   that the 2005 organization wanted to -- wanted to     10   liabilities would have been part of Roxane
11   correct. Remember, the overriding driver of the       11   Laboratories, Inc., which had both the
12   reorganization was to separate the two businesses     12   manufacturing and the sales for the multisource
13   that were part of the Roxane business prior to 2005   13   product; is that correct?
14   and part of the Roxane legal entity.                  14       A. Excuse -- I -- I didn't hear your entire
15      Q. But the Combivent was part of BIPI prior        15   question, so if you could repeat it, please.
16   to 2005?                                              16           MS. POLLACK: Could you read it back?
17      A. That's correct, the manufacturing was,          17   Did you get it --
18   yes, but managed --                                   18           THE COURT REPORTER: You trailed off --
19      Q. And --                                          19           MS. POLLACK: -- the court reporter?
20      A. -- by BIRI people.                              20           THE COURT REPORTER: -- at the end for
21      Q. I'm sorry, I didn't hear that.                  21   me, too.
22      A. But managed by Roxane manufacturing             22   BY THE WITNESS:


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                                                                 48 (Pages 186 to 189)
                                                    186                                                        188
 1       A. I confirmed that with Judy Waterer.             1      Q. Is that --
 2   BY MS. RIVERA:                                         2      A. Yes.
 3       Q. Okay. There was also some discussion            3      Q. -- referring to the substitution that we
 4   about some commitment agreements and rebates that      4   were discussing?
 5   were paid. Do you recall that discussion?              5      A. Yes.
 6       A. Yes.                                            6      Q. Okay. He says, "I have listed below the
 7       Q. Okay. It's in reference to Exhibit 17.          7   process I -- as I understand it, which was
 8          MS. RIVERA: Oh, actually -- well, can           8   implemented as of last Friday, October 25th." Can
 9   you mark --                                            9   you read through that, and tell me whether that
10          MR. FAUCI: I'm thinking it's on 17.            10   supports your testimony as to whether BIPI booked
11          MS. RIVERA: It's what?                         11   these sales, and there were no intra-company sales.
12          MR. FAUCI: Nothing.                            12          MR. FAUCI: Objection to the form.
13          MS. RIVERA: Oh, you know what --               13   BY THE WITNESS:
14   BY THE WITNESS:                                       14      A. I see in point three that Judy Waterer is
15       A. 13.                                            15   going to communicate to the -- the BI Services
16   BY MS. RIVERA:                                        16   Center which orders will be processed as BIPI
17       Q. Yeah, it's -- I'm looking at -- yeah, and      17   invoices.
18   set that aside for one minute. I wanted to mark       18   BY MS. RIVERA:
19   one more document with you on the last issue.         19      Q. And what does that mean?
20              (WHEREUPON, a certain document was         20      A. So that confirms -- to me, that confirms
21   marked Exhibit McIntyre 026, for identification.)     21   that BIPI was gonna book the sale for the -- that
22   BY MS. RIVERA:                                        22   entry.
                                                    187                                                        189
 1       Q. Okay. The court reporter's handed you           1      Q. Okay. If Roxane had booked the sale,
 2   what has been marked as Exhibit 26.                    2   what would you expect that to be?
 3           MS. RIVERA: And for the record, the top        3      A. It would have referenced Roxane invoices.
 4   -- it's an e-mail chain, the top e-mail is from        4      Q. Okay. Okay. Okay. Now moving on to the
 5   Judy Waterer, dated November 4, 1996.                  5   bundling and rebate agreements. I believe you were
 6   BY MS. RIVERA:                                         6   asked who booked and paid for the rebates on BIPI
 7       Q. Do you see that?                                7   products that are a part of this -- these
 8       A. Yes, I do.                                      8   commitment and loyalty agreements. Do you recall
 9       Q. Okay. If you would look to what looks           9   that?
10   like the third e-mail on this page from John Swartz   10      A. Yes, I do.
11   to Ed Tupa.                                           11      Q. Okay.
12       A. Yes, I have it.                                12              (WHEREUPON, a certain document was
13       Q. Okay. And that's dated Thursday, October       13   marked Exhibit McIntyre 027, for identification.)
14   31st?                                                 14   BY MS. RIVERA:
15       A. Yes.                                           15      Q. What number is that? I'm sorry.
16       Q. Okay. If you could take a look at this,        16      A. 27.
17   it says, "This is regarding the RLI sales of          17      Q. Thank you. Okay. You've been handed a
18   Ipratropium that will be filled with BIPI's           18   document, which is dated -- I'm sorry, which has
19   Atrovent." That's referring to the substitution       19   been marked Exhibit 27. And in the first paragraph
20   that we were discussing?                              20   there, it says, "After discussing the one percent
21           MR. FAUCI: Objection to the form.             21   rebate for the branded product and in doing an
22   BY MS. RIVERA:                                        22   analysis," et cetera, "Shelly and I agree that the


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 1   one percent rebate should be charged against the    1          A. Yes, I did.
 2   Roxane P&L."                                        2          Q. Okay. Based on your knowledge of
 3           What does that indicate to you in terms     3      Roxane's financial condition and the -- the payment
 4   of how rebates for BIPI products that were part of  4      of these dividends, do you believe that any of the
 5   Roxane loyalty or commitment agreements were        5      dividend payments that were made by Roxane to BIC
 6   booked?                                             6      during the relevant time frame left Roxane
 7      A. They're going to be paid for by Roxane.       7      undercapitalized?
 8      Q. Okay. And were you able to do any other       8             MR. FAUCI: Objection --
 9   research to confirm that this is the way it worked  9             MS. POLLACK: Objection --
10   for -- for all of these various agreements?        10             MR. FAUCI: -- to the form.
11      A. Yes, I confirmed this with Judy Waterer.     11      BY THE WITNESS:
12      Q. Okay. So BIPI was not paying the rebate      12          A. No.
13   even though the rebate was based on BIPI products? 13      BY MS. RIVERA:
14      A. That's correct.                              14          Q. Okay. And why not?
15           MR. FAUCI: Objection to form.              15          A. 'Cause --
16   BY MS. RIVERA:                                     16             MR. FAUCI: Objection to the form.
17      Q. Okay. You were also asked some questions     17      BY THE WITNESS:
18   about dividend payments from Roxane to BIC. Do you 18          A. They continued to have positive retained
19   recall that discussion?                            19      earnings, and they also had positive working
20      A. Yes.                                         20      capitals to fund their day-to-day operations.
21      Q. Okay. What is the purpose of dividend        21      BY MS. RIVERA:
22   payments?                                          22          Q. Okay. And during the time that you were

                                                    191                                                       193
 1      A. Typically it's to return part of the             1   in Roxane's financial department, do you know if
 2   investment to the parent company.                      2   Roxane -- you know, during the entire time they --
 3      Q. Okay. And is this a normal procedure             3   that you were in Roxane's financial department, if
 4   between subsidiary and parent companies?               4   you have -- if Roxane had sufficient working
 5      A. Yes.                                             5   capital to fund its day-to-day operations?
 6          MR. FAUCI: Objection to form.                   6          MR. FAUCI: Objection to the form.
 7   BY THE WITNESS:                                        7   BY THE WITNESS:
 8      A. Yes.                                             8      A. Yes.
 9   BY MS. RIVERA:                                         9   BY MS. RIVERA:
10      Q. Okay. Based on your -- well, let me ask         10      Q. Okay. Was there ever a time when Roxane
11   you this: Based on your -- sorry, strike that         11   was unable to pay its day-to-day obligations during
12   again.                                                12   this time period?
13          You were a member of Roxane's finance          13      A. No.
14   department from 1996 to 2005, is that correct?        14          MR. FAUCI: Objection to the form.
15      A. That's correct.                                 15   BY MS. RIVERA:
16      Q. Okay. And as a member of Roxane's               16      Q. Okay.
17   finance department, were you familiar with Roxane's   17          MS. RIVERA: What's your objection?
18   financial condition during that time frame?           18          MR. FAUCI: Can you repeat the question?
19      A. Yes.                                            19          THE COURT REPORTER: "Question: Okay" --
20      Q. Okay. And in preparation for this               20          MR. FAUCI: I can read it.
21   deposition, did you review Roxane's financial         21          The objection is that I'm very unclear
22   statements over time?                                 22   what you mean by the phrase "day-to-day


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                                                    194                                                        196
 1   operations," so I would say it's vagueness.            1       A. Yes, there is a general rule, guideline
 2          MS. RIVERA: Okay.                               2   from our corporate parent, that the debt to equity
 3   BY MS. RIVERA:                                         3   ratio shouldn't exceed a certain amount. If it --
 4       Q. Are you aware -- let me just try to fix         4   if it exceeded a certain amount, then dividends
 5   it, even though I disagree with the -- do you          5   would not be paid.
 6   understand what I mean by "day-to-day operations,"     6   BY MS. RIVERA:
 7   Mr. McIntyre?                                          7       Q. Okay. Then there were some questions
 8       A. Yes.                                            8   specific to a dividend that was paid in 2002 from
 9       Q. And how would you describe the day-to-day       9   Roxane to BIC, I think, in the amount of $320
10   operations of Roxane?                                 10   million. Do you remember that?
11       A. To be able to pay our bills, pay our --        11       A. Yes, I do.
12   our vendors, pay our employees, purchase --           12       Q. Okay. Were you able to determine why
13   purchase ingredients, raw materials for -- for        13   that dividend payment was larger than dividend
14   manufacturing.                                        14   payments that had been paid in the past, that Mr.
15       Q. Okay. Okay. So let me just ask it              15   Fauci also referred you to?
16   again. Based on that day-to-day -- based on that      16       A. Yes. There was a couple of things that
17   definition of -- of day-to-day business, do you       17   happened in the prior year that -- that resulted in
18   believe based on your familiarity with Roxane's       18   larger -- more income for Roxane. First, we sold
19   financial con -- condition and your review of         19   the palliative care business, so the income was --
20   Roxane's financial statements that Roxane had         20   the income that Roxane reported in 2001 was a lot
21   sufficient capital to pay its day-to-day expenses -   21   larger than had been expected; two, there were some
22   -                                                     22   tax issues pending that allowed us -- that was
                                                    195                                                        197
 1          MS. POLLACK: Objection as to form.              1   gonna allow us to pay some additional dividends;
 2          MS. RIVERA: I'm not done yet.                   2   and, three, we hadn't paid a dividend in -- since
 3          MS. POLLACK: Sorry.                             3   2000, so this -- the payment in 2002 was -- was a
 4          MS. RIVERA: It's okay.                          4   catch-up for a two-year period.
 5   BY MS. RIVERA:                                         5       Q. Okay.
 6       Q. To pay its day-to-day expenses and fund         6             (WHEREUPON, a certain document was
 7   its day-to-day operations from 1996 through 2005?      7   marked Exhibit McIntyre 028, for identification.)
 8          MS. POLLACK: Objection to form.                 8   BY MS. RIVERA:
 9   BY THE WITNESS:                                        9       Q. Okay. Okay. The court reporter has
10       A. Yes.                                           10   handed you what's been marked as Exhibit 28. Can
11   BY MS. RIVERA:                                        11   you tell me what this is?
12       Q. Okay. And this is your view even though        12       A. This is the 2001 year-end financial
13   at certain points of time Roxane paid dividends to    13   commentary or commentary to the financial
14   its parent comp -- corporation?                       14   statements.
15       A. Yes.                                           15       Q. Okay. Are these documents that Roxane
16       Q. Okay. Do you have any understanding            16   generates in its normal course of business, or did
17   whether the capitalization and Roxane's ability to    17   at this point in time?
18   pay and fund its -- its day-to-day operations was     18       A. Yes.
19   taken into account when determining whether           19       Q. And you're familiar with these kinds of
20   dividends should be paid to -- to BIC or not?         20   documents?
21          MR. FAUCI: Objection.                          21       A. Yes.
22   BY THE WITNESS:                                       22       Q. Okay.


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                                                  198                                                       200
 1           MR. FAUCI: Objection to form.                1           MR. FAUCI: Objection --
 2   BY MS. RIVERA:                                       2   BY THE WITNESS:
 3       Q. If you would turn to the page that ends -     3       A. -- correct.
 4   - if you see the BOEH numbers there --               4           MR. FAUCI: -- to the form.
 5       A. Uh-huh.                                       5   BY MS. RIVERA:
 6       Q. -- that ends in 452, it's a -- it's right     6       Q. Okay.
 7   -- it's a commentary right after the income          7       A. That is correct.
 8   statement.                                           8       Q. Were you able to determine, Mr. McIntyre,
 9       A. Total company income statement, right?        9   whether the payment of the $320 million dividend in
10       Q. Yes.                                         10   2002 had anything to do with pending subpoenas or
11       A. Yes, okay. I have it.                        11   litigation at Roxane?
12       Q. Okay. And it says, "2001 actual income       12           MR. FAUCI: Objection to the form.
13   is 175 million," and it says under that, attribute  13   BY THE WITNESS:
14   -- "Attributable to the Elan deal for the purchase  14       A. Yes, I was able to determine from
15   of pain/palliative care products line." Can you     15   conversations with Frank Palmer that it had nothing
16   tell me what that means in terms of how much Roxane 16   to do with any litigation.
17   was paid for its divestment of the Elan palliative  17   BY MS. RIVERA:
18   care line?                                          18       Q. Okay. Okay. Just a few general
19       A. That -- well, this -- this would             19   questions. Between the time you were in Roxane's
20   represent the amount of income that they were made 20    financial department, between 1996 and 2005, did
21   -- made on this sale of the -- the line.            21   you view Roxane as a separate company from BIC and
22       Q. Okay. So is that the same as saying that     22   BIPI?

                                                  199                                                       201
 1   Roxane made $175 million from the divestiture of    1           MR. FAUCI: Objection --
 2   the Elan products?                                  2    BY THE WITNESS:
 3       A. Yes.                                         3       A. Yes.
 4          MR. FAUCI: Objection to form.                4           MS. RIVERA: -- to the form.
 5   BY MS. RIVERA:                                      5    BY THE WITNESS:
 6       Q. I mean the divestiture of the products to    6       A. Yes.
 7   -- to Elan.                                         7           MS. RIVERA: What's your objection?
 8       A. Yes.                                         8           MR. FAUCI: It calls for a legal
 9       Q. Okay. And can you tell from your             9    conclusion.
10   knowledge and from your review of the documents    10    BY MS. RIVERA:
11   whether that income was budgeted for in -- for     11       Q. Okay. In your view, was Roxane a
12   Roxane for 2001?                                   12    separate company from BIC and BIPI?
13       A. I could -- yes, it was -- it was not        13           MR. FAUCI: Same objection.
14   budgeted for.                                      14    BY THE WITNESS:
15       Q. Okay. So is this consistent with your       15       A. Yes, they were a separate legal entity.
16   testimony that in 2001 Roxane had a unbudgeted     16    BY MS. RIVERA:
17   influx of income in the amount of $175 million?    17       Q. Okay. And following the reorganization
18       A. Yes.                                        18    in 2005, was it your opinion that BIRI was a
19       Q. Okay. And that contributed in part to       19    separate -- or did you consider BIRI a separate
20   the reason why the 2002 dividend payment was       20    company from BIC, BIPI and RLI at that point?
21   higher?                                            21       A. Yes, it was -- again, it was a separate
22       A. That would be --                            22    legal entity, separate tax ID.


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                                                  202                                                        204
 1      Q. Okay. And after the 2005 reorganization,       1      Q. Okay. And what does it say the term of
 2   did you consider Roxane Laboratories as a separate   2   that agreement was?
 3   entity, as a separate corporation from BIC, BIPI     3      A. Ten years.
 4   and BIRI?                                            4      Q. Okay. And this is one of the contracts
 5      A. Yes.                                           5   you were referring to earlier in your testimony?
 6          MS. POLLACK: Objection to form.               6      A. Yes.
 7   BY MS. RIVERA:                                       7      Q. Okay. If you would look at Exhibit 30,
 8      Q. Okay. And just so it's clear on the            8   and tell me what that is.
 9   record, between 1996 and 2005, did Roxane have       9      A. This is the contract manufacturing
10   separate financial statements from BIC and BIPI?    10   agreement between BIPI and BIRI.
11      A. Yes.                                          11      Q. And this one's dated September of two
12      Q. Did it have a separate forecasting and        12   thousand --
13   budget procedure?                                   13      A. Two thousand --
14      A. Yes.                                          14      Q. -- and five?
15      Q. Okay. And after 2005, do you know if          15      A. That's correct.
16   both BIRI and Roxane continued to have separate     16      Q. Okay. And at this point, this was after
17   financial statements and budgets, both from each    17   the corporate reorganization?
18   other and from BIC and BIPI?                        18          MR. FAUCI: Objection to form.
19      A. Yes.                                          19   BY THE WITNESS:
20      Q. Okay. Okay. You had a short discussion        20      A. That's correct.
21   with Mr. Fauci about some manufacturing that Roxane 21   BY MS. RIVERA:
22   did for BIPI. Do you recall that?                   22      Q. Okay. And so BIRI has now taken over the
                                                  203                                                        205
 1       A. Yes.                                          1   manufacturing for BIPI?
 2       Q. And I believe -- sorry. I believe he          2          MR. FAUCI: Objection to form.
 3   asked you if there were manufacturing or contracts   3   BY THE WITNESS:
 4   that governed the agreements between RLI and BIPI    4       A. Yes.
 5   with regard to that manufacturing. Do you recall     5   BY MS. RIVERA:
 6   that?                                                6       Q. Okay. And if you would look at -- well,
 7       A. That's correct, yes.                          7   what ends in the Bates No. 315, a section called,
 8       Q. Okay.                                         8   "Payments." I think the section starts on the page
 9            (WHEREUPON, certain documents were          9   before.
10   marked Exhibit McIntyre 029, Exhibit McIntyre 030 & 10       A. I have it.
11   Exhibit McIntyre 031, for identification.)          11       Q. Okay. Okay. And the -- the Section 7.2,
12   BY MS. RIVERA:                                      12   the last sentence says, "Thereafter, the parties
13       Q. Okay. The court reporter's handed you        13   shall set the prices for drug products not less
14   what have been marked as Exhibits 29, 30 and 31.    14   than once per year based on BIRI's cost plus ten
15   If you would look at Exhibit 29 first, and can you  15   percent." Do you see that?
16   tell me what this is?                               16       A. Yes, I do.
17       A. This is the 1993 contract manufacturing      17       Q. Okay. Is that consistent with your
18   agreement between Roxane Laboratories and BIPI.     18   testimony that the prices for the manufacturing, at
19       Q. Okay. And on the second page of that         19   least as of 2005, that BIRI charged to BIPI was
20   agreement, there's a section called, "Term of       20   based on cost plus ten percent?
21   Agreement"?                                         21       A. Yes.
22       A. Yes.                                         22       Q. Okay. And I -- you may have gone over


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                                                    206                                                      208
 1   this -- I think you did a little bit with Mr. Fauci    1   entered into between Roxane and BIRI at this point
 2   -- but can you tell me, just so it's clear, where      2   in time?
 3   that ten percent figure came from?                     3       A. Because now BIRI was going to act as the
 4       A. The ten percent was arrived at earlier          4   contract manufacturer for Roxane Laboratories now
 5   con -- contract negotiations between BIRI and BII      5   that they were separate companies.
 6   in Germany, and that was later validated by outside    6       Q. Okay. And if you would again turn to the
 7   consulting firm to be an arm's length rate.            7   payment section, which is section seven, at the
 8       Q. Okay. So this ten percent had been used         8   bottom of -- ends in Bates No. 299. What were the
 9   in prior contracts --                                  9   price terms for the contract between BIRI and RLI?
10       A. Yes.                                           10       A. Cost plus ten percent.
11       Q. -- between affiliate companies?                11       Q. Okay. And just for the record, you may
12       A. Yes.                                           12   have said this, but just so it's clear, that this
13       Q. Okay. And you said it was validated by         13   contract manufacturing agreement is dated April 4,
14   third-party consultants. Can you explain that to      14   2005?
15   me?                                                   15       A. That's correct.
16       A. Yeah. The third-party consultant in 2004       16          MS. RIVERA: Okay. Let me take two
17   did a study of comparable companies that had -- had   17   minutes and just make sure that I'm done, so bore
18   in the margins that they made, and they felt that     18   you for two seconds.
19   ours was equivalent to those that they had studied,   19          THE VIDEOGRAPHER: Should I change tape,
20   and that it was an arm's length rate. And             20   or are you going to have more?
21   subsequent to 2004, they -- on a yearly basis, they   21          MS. RIVERA: Should we just change --
22   would -- they would issue an opinion on that again.   22   yeah, oh --

                                                    207                                                      209
 1   So that was reviewed on an annual basis to see that    1          MS. DENTON: Might as well.
 2   it remained an arm's length rate.                      2          MS. RIVERA: Are you going to have any
 3       Q. Okay. And the comparable agreements they        3   follow-up or --
 4   looked at were other contract manufacturing            4          MR. FAUCI: Why don't we take a break out
 5   pharmaceutical agreements?                             5   there, and we'll talk --
 6       A. Yes.                                            6          MS. RIVERA: Okay.
 7          MR. FAUCI: Objection to form.                   7          MR. FAUCI: -- whether if you're done
 8   BY THE WITNESS:                                        8   we're gonna have more --
 9       A. Yes.                                            9          MS. RIVERA: Okay.
10   BY MS. RIVERA:                                        10          MR. FAUCI: -- and I guess --
11       Q. And do you know who the third-party            11          MS. RIVERA: Yeah.
12   consultant was that performed those evaluations?      12          THE VIDEOGRAPHER: We're off the record
13       A. Economic consulting firm called Valentine      13   at 3:01 p.m.
14   and Barbaro.                                          14             (WHEREUPON, a recess was had.)
15       Q. Okay. And then if you would look at            15             (WHEREUPON, MR. WINGET-HERNANDEZ
16   Exhibit 31. And can you tell me what this document    16   disconnected telephonic communication.)
17   is?                                                   17          THE VIDEOGRAPHER: We are back on the
18       A. This is the contract manufacturing             18   record at 3:11 p.m.
19   agreement between Roxane Laboratories and BIRI at     19          MS. RIVERA: I have nothing further right
20   the time of the -- the split.                         20   now.
21       Q. Okay. And why -- why was there a               21          MR. FAUCI: I have a few very quick
22   contract manufacturing agreement that needed to be    22   questions.


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